              Case 23-10267-amc                        Doc         Filed 11/08/24 Entered 11/08/24 19:26:48                                     Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 7
Debtor 1                 Christopher L. Rivera
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania Philadelphia
United States Bankruptcy Court for the: ______________________________________________________________________________________________________
             23-10267-amc
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                                12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                              8
                                                                                                    Court claim no. (if known): _______________________
 New American Funding, LLC FKA Broker Solution Inc. DBA New American Funding




                                                                                                    Date of payment change:
                                                                                                    Must be at least 21 days after date
                                                                                                    of this notice                                12/01/2024
                                                                                                                                                  _____________


                                                                                                    New total payment:
                                                                                                                                                   1311.92
                                                                                                                                                  $________________
                                                                                                    Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      8 ____
                                                                    ____ 5 ____
                                                                            4 ____
                                                                                3

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:
                This payment contains a shortage collection in effect for 12 months. If a new escrow analysis is not run prior to the 12 months, then the payment amount
                will be 1,266.92

                                           661.03
                Current escrow payment: $ _________________                                                                          589.89
                                                                                                               New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                  New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                                        page 1
            Christopher L. Rivera                                                                23­10267
      Case 23-10267-amc                   Doc Filed    11/08/24 Entered 11/08/24
            ________________________________________________________
      Debtor 1
            First Name          Middle Name    Last Name
                                                                          Case number (if19:26:48         Desc Main
                                                                                         known) ______________________

                                              Document         Page 2 of 7
 Part 4:     Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent.
    ✔


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.



       /s/ Christopher A. DeNardo                                                             11/08/2024
     ______________________________________________________________
      Signature
                                                                                 Date _______________


              Christopher A. DeNardo 78447
              Heather Riloff - 309906
              Leslie J. Rase, 58365
 Print:______________________________________________________________                     Attorney for Creditor
                                                                                  ___________________________________________________________
        First Name           Middle Name                 Last Name                Title


                  LOGS Legal Group LLP
 Company ____________________________________________________________

                  985 Old Eagle School Road, Suite 514
 Address    _____________________________________________________________
            Number               Street

            ____________________________________________________________
            Address 2

              Wayne, PA 19087
           _____________________________________________________________
             City                                          State      ZIP Code



                  (610) 278-6800
 Contact phone _________________________                                                    logsecf@logs.com
                                                                                  ____________________________________________________________
                                                                                  Email




Official Form 410S1                                        Notice of Mortgage Payment Change                                           page 2
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                                                  Certificate of Service

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was caused to be served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address
registered with the Court on this Date:
       11/08/2024
Date: _____________________________


Chapter 13 Trustee: Kenneth E. West, Office of the Chapter 13 Standing Trustee
Trustee Address: 1234 Market Street - Suite 1813, Philadelphia, PA 19107
Trustee Email: ecfemails@ph13trustee.com


Debtor's Counsel Name: Michael A. Cibik, Esquire, Cibik Law, P.C.
Debtor's Counsel Address: 1500 Walnut Street, Suite 900, Philadelphia, PA 19102
Debtor's Counsel Email: help@cibiklaw.com

Debtor’s Name: Christopher L. Rivera
Debtor's Mailing Address: 4203 Disston St, Philadelphia, PA 19135




                                                                        /s/ Christopher A. DeNardo
                                                                         Christopher A. DeNardo 78447
                                                                         Heather Riloff - 309906
                                                                         Leslie J. Rase, 58365
           Case 23-10267-amc
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         newamerican
     naf FUNDING     Document      Page 4 of 7
                                     ESCROW ANALYSIS STATEMENT
                  P.O. Box 170581
                  Austin, TX 78717
                                                                                                    Statement Date:                                                       09/18/24
                                                                                                    Loan Number:
     Address Service Requested                                                                      Property Address: 4203 DISSTON ST
                                                                                                                      PHILADELPHIA PA 19135

     CHRISTOPHER L RIVERA GONZALEZ
     REYVIS CASTANEDA UTRIA
                                                                                                    Questions? We are here to help.
     4203 DISSTON ST
     PHILADELPHIA PA 19135-1713                                                                     Customer Service: 800-893-5304
                                                                                                    Monday through Friday, from 8:00 AM to 9:00 PM
                                                                                                    CT and Saturday from 10:00 AM to 2:00 PM CT

                                                                                                    www.newamericanfunding.com/myloan



Here's why you are receiving this statement:                                                                Based on our review, you have a shortage of
At least once a year, we review your escrow account to make sure
there is enough money to cover your property taxes and insurance
payments and not go below the minimum required balance. This
                                                                                                                                 $539.95
protects you and us from fluctuating taxes and insurance that can
cause changes in your account.                                                                          Projected minimum balance                                           $164.11
                                                                                                      - Required minimum balance                                            $887.16
This statement details the amount we paid on your behalf since your
last analysis and includes projections for the next 12 months.                                            Shortage amount                                                   $539.95
               Want to learn more about your escrow account?
              Scan the QR code with your mobile phone or visit                                       Most shortages are caused by changes in taxes and insurance. To
              NAF.com/Escrow to review our educational escrow                                                          see changes, turn to Part 3.
              video.



L        YOUR MORTGAGE PAYMENT


NEW PAYMENT Your new mortgage payment will be: $1,311.92                                                                                 STARTING DECEMBER 01, 2024

    Mortgage Payment Breakdown                                        Current Payment                              New Payment                                    Difference
    Principal and Interest                                                     $722.03                                  $722.03                                        $0.00
    Regular Escrow Payment                                                     $520.24                                  $544.89                                       $24.65
    Repayment of Escrow Shortage                                               $140.79                                   $45.00                                        -$95.79
    Total Payment Amount                                                    $1,383.06                                 $1,311.92                                       -$71.14




       The shortage amount will be added to your                                                       We've outlined three different payment
       monthly payment effective 12/01/2024 but                                                        options for you to choose from to correct your
       you have options.                                                                               shortage.


        Note: If you currently use a third-party bill pay service to make automatic payments, please update the amount scheduled to reflect the new payment amount listed above.




  naf newamerican
      FUNDING
                                                                                                                     Optional Escrow Payment
                                                                                         I understand no payment towards the escrow shortage is due now, but I do have options:


 CHRISTOPHER L RIVERA GONZALEZ                                                                    OPTION 1
                                                                                                  12-month Spread, No action required.
 REYVIS CASTANEDA UTRIA
                                                                                                  New monthly payment $1,311.92 beginning 12/01/2024.
 Loan Number:
                                                                                                  OPTION 2
 Shortage Amount: $539.95                                                                         Pay shortage of $539.95 and adjust my mortgage payment to
                                                                                                  $1,266.92 starting 12/01/2024, once this payment is processed.

                                                                                                  OPTION
                                                                                                  Pay $              , part of the shortage. I understand that the rest of
         New American Funding, LLC                                                                the shortage will be divided by 12 and added to my monthly payment.
         P.O. Box 650076
         Dallas, TX 75265-0076                                                                Please write your loan number on your check and mail this portion with your payment.
            Case 23-10267-amc               Doc                       EnteredDate:
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naf newamerioan
    FUNDING
                                                      Document      Page   5 of 7
                                                                     Loan Number:
                                                                            Property Address: 4203 DISSTON ST
                                                                                              PHILADELPHIA PA 19135




r2         CALCULATING ESCROW AMOUNTS


An escrow account is an account where we hold funds used to pay your property taxes, homeowner's insurance, and mortgage insurance
premiums (if applicable) throughout the year. In order to determine what your payment will be the following year, we must analyze your loan.

Here's how we calculate your escrow amounts:

           We first take a look at all escrow payments received, as well as all tax and insurance items paid
           out during the past year or from your last analysis.


                 Next, we estimate the tax and insurance items that we will pay for the next year and divide the projected total by
                 12. This will determine what your new monthly escrow payment will be. If your loan has mortgage insurance, this
                 is added to your monthly escrow payment as well.

       I
           Now that we know what your monthly escrow payment will be, we project your monthly escrow
           balances over the next year, to show what is being deposited and paid out.


                 Lastly, we compare the lowest escrow balance                  A cushion helps cover unexpected increases in taxes and/
                 month to the required minimum balance (cushion)               or insurance. Lenders are allowed to maintain a 2-month
                 to determine if there will be a shortage or overage.          cushion by state and federal law. The cushion is calculated
                                                                               by adding your yearly escrow items and dividing the total
                                                                               by 12. This amount is then multiplied by 2.




 3         YOUR ESCROW HISTORY

The charts below reflects what happened in your escrow account since your last analysis, compared to what we expected would happen.
                                                                     Anticipated           Actual Amounts
                      Escrow Item                                   Amounts Due                Paid or Due             Difference
                      CITY                                               $3,125.75              $3,125.76                  $0.01
                      FHA                                                $1,247.04              $1,215.72                -$31.32
                      HAZARD INS                                         $1,870.11              $2,197.21                $327.10
                      Total Annual Escrow Payments                       $6,242.90              $6,538.69                $295.79
                      Monthly Escrow Payments                             $520.24                $544.89                  $24.65


Date       Expected Payments    Actual Payments      What We Estimated        What We       Description                                 Total Balance
                    to Escrow          to Escrow            to Pay Out        Paid Out
                                                                                            BEGINNING BALANCE                                $1,458.03
12/2023               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                               $2,119.06
12/2023                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                               $2,015.14
01/2024               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                               $2,676.17
01/2024                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                               $2,572.25
02/2024               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                               $3,233.28
02/2024                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                               $3,129.36
03/2024               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                               $3,790.39
03/2024                 $0.00             $0.00              $3,125.75       $3,125.76 *    CITY                                                $664.63
03/2024                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                                 $560.71
04/2024               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                               $1,221.74
04/2024                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                               $1,117.82
04/2024                 $0.00             $0.00                  $0.00       $2,197.21 *    HAZARD INS                                       -$1,079.39
05/2024               $520.24           $661.03 *             $103.92            $0.00 *    FHA                                                -$418.36
05/2024                 $0.00             $0.00              $1,870.11           $0.00 *    HAZARD INS                                         -$418.36
05/2024                 $0.00             $0.00                  $0.00        $103.92 *     FHA                                                -$522.28
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    FUNDING
                                                           Document      Page   6 of 7
                                                                          Loan Number:
                                                                                   Property Address: 4203 DISSTON ST
                                                                                                     PHILADELPHIA PA 19135

Date       Expected Payments      Actual Payments        What We Estimated          What We       Description                                  Total Balance
                    to Escrow            to Escrow              to Pay Out          Paid Out
06/2024               $520.24              $661.03 *              $103.92              $0.00 *    FHA                                               $138.75
06/2024                 $0.00                $0.00                   $0.00          $103.92 *     FHA                                                 $34.83
07/2024               $520.24                $0.00 *              $103.92              $0.00 *    FHA                                                 $34.83
07/2024                 $0.00                $0.00                   $0.00          $103.92 *     FHA                                                -$69.09
08/2024               $520.24            $1,322.06 *              $103.92              $0.00 *    FHA                                              $1,252.97
08/2024                 $0.00                $0.00                   $0.00          $103.92 *     FHA                                              $1,149.05
09/2024               $520.24              $661.03 *              $103.92           $103.92       FHA                                              $1,706.16
10/2024               $520.24              $661.03 E              $103.92           $101.31 E     FHA                                              $2,265.88
11/2024               $520.24              $661.03 E                $103.92          $101.31 E    FHA                                              $2,825.60
TOTALS                                                            $6,242.90        $6,564.79      ENDING BALANCE                                   $2,825.60
An amount listed with an "E" indicates a payment or disbursement from escrow that we anticipate will occur prior to the effective date of your new monthly
payment. An asterisk (*) indicates a difference between the expected and actual payments and disbursements.




r
- 4.       THE NEXT 12 MONTHS
                                                                                                                                                      ■
Expected Escrow Payments Over the Next 12 Months
                                                                            Anticipated                 Your Monthly Regular
                       Escrowed Item                                       Amounts Due                    Escrow Payment
                       CITY                                                    $3,125.76                  $6,538.69 / 12 =
                       FHA                                                     $1,215.72
                       HAZARD INS                                              $2,197.21                   $544.89
                       Expected Annual Disbursements:                          $6,538.69

The chart below reflects a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12
months.
Date        Expected Payments       What We Estimate Description                                            Projected           Minimum         Difference
                     to Escrow            to Pay Out                                                         Balance            Required
                                                         BEGINNING BALANCE                                 $2,825.60
12/2024                 $544.89              $101.31     FHA                                               $3,269.18              $887.16        $2,382.02
01/2025                 $544.89              $101.31     FHA                                               $3,712.76              $887.16        $2,825.60
02/2025                 $544.89              $101.31     FHA                                               $4,156.34              $887.16        $3,269.18
03/2025                 $544.89              $101.31     FHA                                               $4,599.92              $887.16        $3,712.76
03/2025                   $0.00             $3,125.76    CITY                                              $1,474.16              $887.16          $587.00
04/2025                 $544.89              $101.31     FHA                                               $1,917.74              $887.16        $1,030.58
05/2025                 $544.89              $101.31     FHA                                               $2,361.32              $887.16        $1,474.16
05/2025                   $0.00             $2,197.21    HAZARD INS                                          $164.11              $887.16         -$723.05
06/2025                 $544.89              $101.31     FHA                                                 $607.69              $887.16         -$279.47
07/2025                 $544.89              $101.31     FHA                                               $1,051.27              $887.16          $164.11
08/2025                 $544.89              $101.31     FHA                                               $1,494.85              $887.16          $607.69
09/2025                 $544.89              $101.31     FHA                                               $1,938.43              $887.16        $1,051.27
10/2025                 $544.89              $101.31     FHA                                               $2,382.01              $887.16        $1,494.85
11/2025                 $544.89              $101.31     FHA                                               $2,825.59              $887.16        $1,938.43

**Low Balance used to determine escrow overage or shortage.
If you are currently participating in a Loss Mitigation Plan, please give us a call at 1-800-450-2010 ext. 9208 as this change may affect your payment plan.




    h       IMPORTANT INFORMATION


Please retain this statement for comparison with the actual activity in your account at the end of the next escrow account
computation year. If you have any questions, please contact us at 1-800-893-5304.

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be used
for that purpose. This notice is required by the Federal Fair Debt Collection Practices Act.

If you or your account are subject to pending bankruptcy or the obligation referred in this letter has been discharged for
bankruptcy, this letter/statement is for information purpose only and is not an attempt to collect a debt.
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